      Case 2:19-cv-14765-WBV-DMD Document 83 Filed 06/19/20 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

E.N. BISSO & SON, INC., et al.               *            CIVIL ACTION NO. 2:19-cv-14765
                                             *
                            Plaintiffs,      *            SECTION “D”
                                             *
      VERSUS                                 *            DIVISION “3”
                                             *
M/V BOUCHARD GIRLS, her tackle, furniture,   *            JUDGE WENDY B. VITTER
apparel, appurtenances, etc. in rem &        *
BOUCHARD TRANSPORTATION CO., INC. in *                    MAGISTRATE DANA DOUGLAS
personam,                                    *
                                             *
                                             *
                            Defendants.      *
                                             *
********************************************

      WELLS FARGO BANK, N.A.’S MOTION FOR LEAVE TO FILE REPLY
   MEMORANDUM TO OPPOSITIONS TO MOTION FOR SUMMARY JUDGMENT

        Plaintiff-Intervenor, Wells Fargo, N.A. (“Wells Fargo”), respectfully moves this Court for

leave to file a reply memorandum in response to the oppositions to motion for summary judgment

(the “Oppositions”) filed by E.N. Bisso & Son, Inc. (“Bisso”), Boland Marine & Industrial, LLC

(“Boland”) and M/V BOUCHARD GIRLS and Barge B NO. 295 (the “Vessels”).

        Wells Fargo previously moved to file a reply memorandum on Jne 1, 2020. (ECF 71).

This motion was denied by the Court on June 9, 2020 “with the opportunity to re-urge the motion

on Friday June 19, 2020….” (ECF 73). For the reasons more fully set forth in the attached

memorandum, Wells Fargo seeks leave to file the annexed reply memorandum (in lieu of the one

sought to be filed on June 1, 2020) based on intervening events, including the arrest of the Vessels

by Wells Fargo (See Exhibit A to reply memorandum) and Bisso’s filing of an additional

memorandum in opposition to Wells Fargo’s motion for summary judgment. (ECF 79). Wells

Fargo intends also to address the legal authorities, rarely used equitable doctrines and factual



2767546.1
      Case 2:19-cv-14765-WBV-DMD Document 83 Filed 06/19/20 Page 2 of 3



allegations made in the original Oppositions filed by Bisso, Boland and the Vessels. (ECF 66, 69

and 70).



                                        Respectfully submitted,

                                        /s/ Benjamin O. Schupp
                                        RICHARD A. AGUILAR (La. Bar No. 17439) TA
                                        BENJAMIN O. SCHUPP (La. Bar No. 21074)
                                        ADAM C. McNEIL (La. Bar No. 27001)
                                        McGLINCHEY STAFFORD, PLLC
                                        601 Poydras Street – 12th Floor
                                        New Orleans, Louisiana 70130
                                        Telephone (504) 586-1200
                                        Facsimile (504) 324-0965
                                        raguilar@mcglinchey.com
                                        bschupp@mcglinchey.com
                                        amcneil@mcglinchey.com

                                        ATTORNEYS FOR INTERVENOR,
                                        WELLS FARGO BANK, N.A.


                                        MICHAEL B. TAYLOR (TX Bar No. 24102560)
                                        Admitted pro hac vice
                                        J. JAMES COOPER (TX Bar No. 04780010)
                                        Admitted pro hac vice
                                        REED SMITH LLP
                                        Suite 1700
                                        811 Main Street
                                        Houston, TX 77002-6110
                                        Telephone (713) 469-3800
                                        Facsimile (713) 469-3899
                                        btaylor@reedsmith.com
                                        jcooper@reedsmith.com




2767546.1
      Case 2:19-cv-14765-WBV-DMD Document 83 Filed 06/19/20 Page 3 of 3



                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing was e-filed with

the Clerk of the Court and electronically served on all counsel of record via the Court’ s ECF E-

Filing Service System on this 19th day of June, 2020.

                                             /s/ Benjamin O. Schupp
                                             BENJAMIN O. SCHUPP




2767546.1
